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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          )
                                                  )
               v.                                 )   No.    1:21-cr-28 (APM)
                                                  )
GRAYDON YOUNG,                                    )
                         Defendant.               )

                       GOVERNMENT’S UNOPPOSED MOTION TO
                         WITHDRAW DETENTION REQUEST

       On February 23, 2021, Magistrate Judge Thomas G. Wilson of the United States District

Court for the Middle District of Florida granted the government’s motion to detain Defendant

Graydon Young pending trial. (ECF 15, Case No. 8:21-mj-01148-TGW (M.D. Fla.).) On March

22, 2021, Defendant Young moved this Court, pursuant to 18 U.S.C. § 3145(b), to revoke Judge

Wilson’s detention order. (ECF 95.)

       On March 24 and 26, 2021, this Court considered bond-review motions from co-defendants

Laura Steele, Connie Meggs, Donovan Crowl, and Kelly Meggs, and on March 26, 2021, the D.C.

Circuit issued its opinion in United States v. Eric Munchel, No. 21-3010. With the benefit of the

Court’s decisions with respect to the co-defendants, and in light of the D.C. Circuit’s guidance and

the government’s continuing investigation and evaluation of the evidence, the government has

determined that the interests of justice would be better served if Defendant Young were released

from custody and placed on home confinement subject to the same conditions that the Court

imposed on co-defendants Steele, Connie Meggs, and Crowl.

       Defendant Young’s case presents some of the “plus” factors the Court referenced in its

decision to detain co-defendant Kelly Meggs, namely that Defendant Young recruited others (his

sister co-defendant Steele), financed others’ travel (co-defendant Steele’s shared hotel room), and

tried to hide his actions (deleting his Facebook account, for which he has been indicted for
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violating 18 U.S.C. § 1512(c)(1)). On the other hand, Defendant Young does not appear to have

played a leadership role among his co-conspirators or to have himself been in advance contact with

any other groups or individuals planning for violence in Washington, D.C., on January 6.

Moreover, Defendant Young does not appear to have personally brought weapons to the

Washington, D.C, area.

       Evaluating the factors in Section 3142(g) with respect to Defendant Young, the government

believes that there exists a combination of conditions that can assure the safety of the community:

home incarceration with GPS monitoring, no access to electronic communication devices that

would allow communication through encrypted or non-encrypted applications, no contact with

anyone associated with the Oath Keepers (including co-defendant Steele), not possess any firearms

or destructive devices, be restricted to the Middle District of Florida, and report weekly to pretrial

services. The government submits that the precise terms of release should mirror the terms

imposed on co-defendants Steele, Connie Meggs, and Crowl.

       Counsel for Defendant Young does not oppose the relief sought in this motion.

                                       Respectfully submitted,

                                       CHANNING D. PHILLIPS
                                       ACTING UNITED STATES ATTORNEY


                               By:
                                       Jeffrey S. Nestler
                                       Assistant United States Attorney
                                       D.C. Bar No. 978296
                                       Ahmed M. Baset
                                       Troy A. Edwards, Jr.
                                       Jeffrey S. Nestler
                                       Kathryn Rakoczy
                                       Assistant United States Attorneys
                                       U.S. Attorney’s Office for the District of Columbia
                                       555 4th Street, N.W.
                                       Washington, D.C. 20530

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                      /s/ Alexandra Hughes
                      Alexandra Hughes
                      Justin Sher
                      Trial Attorneys
                      National Security Division
                      United States Department of Justice
                      950 Pennsylvania Avenue
                      NW Washington, D.C. 20004




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